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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
Brandon Ehlis, on behalf of himself and all    )
others similarly situated,                     )       Case No. 20-cv-01872-PJS-ECW
                                               )
             Plaintiff,                        )     NOTICE OF APPEARANCE
                                               )
v.                                             )
                                               )
DAP Products, Inc.,                            )
                                               )
             Defendant.                        )



      The undersigned attorneys hereby notify the Court and counsel that Russell S.

Ponessa, Esq. and Anju Suresh, Esq., Hinshaw & Culbertson LLP, shall appear as counsel

of record for defendant DAP Products, Inc.



Dated: October 22, 2020                       HINSHAW & CULBERTSON LLP


                                              s/ Russell S. Ponessa
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